             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 1 of 10




 1                                                              THE HONORABLE JOHN H. CHUN

 2

 3

 4

 5

 6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE

 8

 9    FEDERAL TRADE COMMISSION, et al.,
                                                              CASE NO.: 2:23-cv-01495-JHC
10                     Plaintiffs,
                                                              PLAINTIFFS’ REPLY
                                                              REGARDING PLAINTIFFS’
11                v.
                                                              MOTION TO SEAL AND
                                                              PLAINTIFFS’ RESPONSE TO
12    AMAZON.COM, INC., a corporation,
                                                              AMAZON’S MOTION TO SEAL
13                     Defendant.

14

15          Pursuant to Local Civil Rule 5(g), Plaintiffs respectfully submit this reply regarding

16 Plaintiffs’ Motion to Seal (Dkt. #199) and Plaintiffs’ Response to Amazon’s Motion to Seal

17 (Dkt. #220).

18          Plaintiffs respectfully oppose Amazon’s request to seal all of Exhibit B to the Declaration

19 of Emily K. Bolles in Support of Plaintiffs’ Motion to Compel Production of Documents Related

20 to Spoliation (“Bolles Declaration”) (Dkt. #201-1), and in the alternative, all of Exhibit B outside

21 of the first two pages of the document. Amazon’s Response to Plaintiffs’ Motion to Seal, Dkt.

22 #221 at 3, 6. Amazon’s confidentiality concerns can be addressed by sealing the names of

23 individuals not employed by Amazon, the names of Amazon executive assistants, and certain

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                          FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                              600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 1                                              Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                         (202) 326-2222
             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 2 of 10




 1 subject matter descriptions that do not appear to be relevant to this case and are detailed enough

 2 that they could conceivably prejudice Amazon or third parties. Plaintiffs do not oppose sealing

 3 those portions of Exhibit B, but Amazon has not shown good cause to permanently seal Exhibit

 4 B in its entirety.

 5          Following Amazon’s choice to publicly disclose a previously nonpublic FTC

 6 investigation in Amazon’s Opposition to Plaintiffs’ Motion to Compel (Dkt. #223), Plaintiffs

 7 withdraw their request to permanently seal portions of Exhibits B-E, G and L filed in connection

 8 with the Bolles Declaration (Dkt. # 201-1). Plaintiffs do not oppose Amazon’s request to

 9 permanently seal portions of Exhibit E and Exhibits 20, 21, 22 and 23 filed in connection with

10 the Declaration of Kosta S. Stojilkovic in Support of Amazon’s Opposition to Plaintiffs’ Motion

11 to Compel Production of Documents (“Stojilkovic Declaration”) (Dkt. # 224-225). Finally,

12 Plaintiffs request that the Court permanently seal a portion of Exhibit 13 to the Stojilkovic

13 Declaration (Dkt. #224-225) that refers to a nonpublic FTC investigation.

14                                             ARGUMENT

15 I.       AMAZON HAS NOT SHOWN GOOD CAUSE TO PERMANENTLY SEAL
            EXHIBIT B IN ITS ENTIRETY.
16
            “Historically, courts have recognized a ‘general right to inspect and copy public records
17
     and documents, including judicial records and documents.’” Kamakana v. City & Cnty. Of
18
     Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435
19
     U.S. 589, 597 & n.7 (1978)). Accordingly, when a court considers a request to seal, “a strong
20
     presumption in favor of access is the starting point.” Id. at 1178 (internal quotation marks and
21
     citations omitted); see also W.D. Wash LCR 5(g). To overcome this presumption in connection
22
     with a non-dispositive motion, the party seeking to seal a document must make a “particularized
23
     showing of good cause.” San Jose Mercury News, Inc. v. U.S. Dist. Ct. – N. Dist. (San Jose), 187
24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                           FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                               600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 2                                               Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 3 of 10




 1 F. 3d 1096, 1103 (9th Cir. 1999); see W.D. Wash. LCR 5(g)(3)(B). “Broad allegations of harm,

 2 unsubstantiated by specific examples of articulated reasoning” are insufficient to justify sealing.

 3 Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 476 (9th Cir. 1992) (quoting Cipollone v.

 4 Liggett Group, Inc., 785 F.2d 1108, 1121 (3d. Cir. 1986). Even if good cause is shown to seal

 5 portions of a document, “courts prefer ‘limited and clear’ redactions, if possible” rather than

 6 sealing a document in its entirety. Fernandez v. Corelogic Credco, LLC, 2023 WL 11445613, at

 7 *1 (S.D. Cal, Mar. 8, 2023) (quoting Kamakana, 447 F.3d at 183).

 8          Exhibit B is a high-level log of Signal screenshots for certain Amazon executives whose

 9 files were searched in connection with Plaintiffs’ pre-Complaint investigation. Other individuals

10 are identified on the log only insofar as they were communicating with these executives through

11 Signal. The log identifies the date of each communication, the participants, and the participants’

12 disappearing messages (“DM”) settings, including whether DM settings were changed during a

13 conversation. For some entries, the log contains a high-level description of the subject matter of

14 the communication.

15          Amazon is seeking to permanently seal all thirty-five pages of Exhibit B, or in the

16 alternative, the thirty-three pages of Exhibit B that contain log entries. However, Amazon’s

17 statement only outlines broad allegations of harm if Exhibit B is made public and does not make

18 any particularized showing that the disclosure of Amazon’s Signal log would harm Amazon or

19 impact any individual privacy interests.

20          To address Amazon’s concerns, Plaintiffs have proposed narrow redactions to Exhibit B

21 that would seal the names of individuals not employed by Amazon, the names of Amazon

22 executive assistants, and certain subject matter descriptions that do not appear to be relevant to

23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                          FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                              600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 3                                              Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                         (202) 326-2222
              Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 4 of 10




 1 this case and are detailed enough that they might conceivably prejudice Amazon or third parties.1

 2 Those proposed redactions are highlighted in pink in the version of Exhibit B Plaintiffs are filing

 3 in connection with this reply brief. The rest of Exhibit B should be made public.

 4           Amazon’s argument that “the vast majority of the entries in Exhibit B are plainly and

 5 indisputably of no relevance to this litigation,” Response 6, Dkt #221, misses the point.

 6 Amazon’s Signal log shows when and how frequently senior Amazon executives used Signal

 7 and shows that they used Signal to discuss business matters. The log also shows how Amazon

 8 executives turned disappearing messages on and off, and how they changed the timer setting for

 9 disappearing messages. That information is directly relevant to Plaintiffs’ Motion to Compel.

10           Amazon contends that Exhibit B, if made public, “would reveal potentially sensitive

11 business information and strategies.” Response 4-5, Dkt #221. Amazon provides no support for

12 this claim, much less a “particularized showing of good cause.” See Fitzgerald Decl. ¶ 3, Dkt.

13 #222.

14           Amazon claims that Exhibit B would “reveal[] the communication patterns and

15 potentially sensitive areas of business focus of various Amazon executives.” Response 5, Dkt.

16 #221. However, it is unclear how any generalized “patterns” of executives’ communications

17 would cause any particularized harm to Amazon or embarrassment to its employees, especially

18 given that most of the subject matter descriptions in the log are very broad. Similarly, the log

19 offers little insight into the “potentially sensitive areas of business focus for various Amazon

20 executives.” For example, there is nothing sensitive about the fact that Amazon executives

21

22
     1
       Plaintiffs previously met and conferred with Amazon about Amazon’s request to seal Exhibit B, and Amazon took
     the position that Exhibit B should be sealed in its entirety. See Bolles Decl. ¶ 7, Dkt. #200. Amazon argues in its
23   response that any targeted redactions “will invite speculation about whose names appear under redacted entries.”
     Amazon’s Response to Plaintiffs’ Motion to Seal (“Response”) 7, Dkt. #221.
24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                                      FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                                          600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 4                                                          Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                                     (202) 326-2222
             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 5 of 10




 1 communicate about public relations and human resources issues. See Response 5, Dkt #221.

 2 Additionally, dozens of log entries do not include a subject matter description at all, and instead

 3 only list the conversation participants and when DM settings were changed. Amazon’s request to

 4 seal Exhibit B in its entirety is not “narrowly tailored to confidential or proprietary information”

 5 and does not meet the good cause standard for sealing. See Apple Inc. v. Samsung Elecs. Co.,

 6 2013 WL 412864, at *2 (N.D. Cal., Feb. 1, 2013); see also Skky, LLC v. Facebook, Inc., 191 F.

 7 Supp. 3d 977, 981 (D. Minn. 2016) (denying a motion to seal when the document was not the

 8 “type of sensitive information that might typically be subject to an order to seal, such as financial

 9 data, proprietary or trade secret information, or personal health details”).

10          Amazon’s argument that the entire Signal log should be sealed because some

11 conversations “relate to sensitive public relations and human resources issues” should not carry

12 any weight. Response 5, Dkt #221. The subject matter descriptions in the log are sufficiently

13 vague that it would be impossible for the public to discern the details of any conversations. The

14 mere fact that Amazon executives communicate about public relations and personnel issues is

15 not confidential, as illustrated by the fact that Amazon publicly describes those categories of

16 communications in its brief. Response 5, Dkt. #221.

17          Finally, Amazon states that it is concerned that “[a]ny partial unsealing” of Signal log

18 entries “will invite speculation about whose names appear under redacted entries, both from the

19 public and from other Amazon employees.” Response 7, Dkt. #221. It is not clear that Amazon

20 has a cognizable interest in shielding Amazon information from Amazon employees. However,

21 leaving that issue aside, these types of concerns about potential speculation do not constitute

22 good cause to maintain a document under seal. Bangert v. Cnty. of Placer, 2019 WL 358518, at

23 *5 (E.D. Cal Jan. 29, 2019) (“Defendants’ argument that publicly disclosing the list of

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                           FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                               600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 5                                               Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                          (202) 326-2222
             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 6 of 10




 1 documents sought could fuel speculation as to what documents do and do not exist is not a

 2 ‘particularized showing’ that public disclosure of this email would cause ‘annoyance,

 3 embarrassment, oppression, or an undue burden.’”) (citation omitted).

 4 II.      PLAINTIFFS WITHDRAW THEIR REQUEST TO PERMANENTLY SEAL
            PORTIONS OF EXHIBITS B-E, G, AND L.
 5
            Plaintiffs withdraw their request to permanently seal portions of Exhibits B through E, G,
 6
     and L, which were filed with the Bolles Declaration (Dkt #201-1). Certain portions of those
 7
     documents referred to an FTC investigation that was not public at the time of Plaintiffs’ filing.
 8
     Amazon has publicly disclosed the existence of that investigation in its Opposition to Plaintiffs’
 9
     Motion to Compel (Dkt. #223). As a result, the FTC withdraws its request to maintain the
10
     relevant portions of those documents under seal.
11
     III.   THE COURT SHOULD PERMANENTLY SEAL PORTIONS OF EXHIBIT 13.
12
            Plaintiffs request that the Court permanently seal the subject line of Exhibit 13 filed with
13
     the Stojilkovic Declaration (Dkt. # 224-225) because it refers to a nonpublic FTC investigation,
14
     which the FTC generally does not disclose as a matter of policy. Policy Concerning Disclosures
15
     of Nonmerger Competition and Consumer Protection Investigations, 63 Fed. Reg. 63477 (Nov.
16
     13, 1998). Pursuant to longstanding FTC policy, the FTC discloses investigations only pursuant
17
     to certain limited exceptions that are not applicable here. These confidentiality considerations are
18
     good cause to maintain this portion of Exhibit 13 under seal and there are no less restrictive
19
     alternatives to sealing portions of this exhibit that refer to a nonpublic FTC investigation.
20
     Amazon does not oppose this proposed redaction. Amazon’s Motion to Seal Exhibits to
21
     Opposition to Plaintiffs’ Motion to Compel 5, Dkt. #220.
22

23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                            FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                                600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 6                                                Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                           (202) 326-2222
             Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 7 of 10




 1 IV.      PLAINTIFFS DO NOT OPPOSE AMAZON’S REQUEST TO PERMANENTLY
            SEAL PORTIONS OF EXHIBIT E AND EXHIBITS 20, 21, 22 AND 23.
 2
            Plaintiffs do not oppose Amazon’s request to permanently seal portions of Exhibit E filed
 3
     with the Bolles Declaration (Dkt. #201-1) or Amazon’s request to permanently seal Exhibits 20-
 4
     23 filed with the Stojilkovic Declaration (Dkt. #224-225).
 5
                                             CONCLUSION
 6
            Plaintiffs respectfully request that the Court enter the attached Proposed Order.
 7

 8 Dated: May 23, 2024                            I certify that this brief contains 1660 words, in
                                                  compliance with LCR 7(e)(4).
 9
                                                  Respectfully submitted,
10
                                                  s/ Kara King
11                                                SUSAN A. MUSSER (DC Bar #1531486)
                                                  EDWARD H. TAKASHIMA (DC Bar # 1001641)
12                                                EMILY K. BOLLES (NY Reg. # 5408703)
                                                  KARA KING (DC Bar # 90004509)
13                                                ERIC ZEPP (NY Reg. #5538491)
14                                                Federal Trade Commission
                                                  600 Pennsylvania Avenue, NW
15                                                Washington, DC 20580
                                                  Tel.: (202) 326-2122 (Musser)
16                                                       (202) 326-2464 (Takashima)
                                                  Email: smusser@ftc.gov
17                                                       etakashima@ftc.gov
                                                         ebolles@ftc.gov
18                                                       kking@ftc.gov
                                                         ezepp@ftc.gov
19
                                                  Attorneys for Plaintiff Federal Trade Commission
20

21

22

23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                          FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                              600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 7                                              Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                         (202) 326-2222
            Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 8 of 10




 1 s/ Michael Jo                                   s/ Timothy D. Smith
   Michael Jo (admitted pro hac vice)              Timothy D. Smith, WSBA No. 44583
 2 Assistant Attorney General, Antitrust Bureau    Senior Assistant Attorney General
   New York State Office of the Attorney           Antitrust and False Claims Unit
 3 General                                         Oregon Department of Justice
   28 Liberty Street                               100 SW Market St
 4 New York, NY 10005                              Portland, OR 97201
   Telephone: (212) 416-6537                       Telephone: (503) 934-4400
 5 Email: Michael.Jo@ag.ny.gov                     Email: tim.smith@doj.state.or.us
   Counsel for Plaintiff State of New York         Counsel for Plaintiff State of Oregon
 6
   s/ Rahul A. Darwar                              s/ Jennifer A. Thomson
 7 Rahul A. Darwar (admitted pro hac vice)         Jennifer A. Thomson (admitted pro hac vice)
   Assistant Attorney General                      Senior Deputy Attorney General
 8 Office of the Attorney General of Connecticut   Pennsylvania Office of Attorney General
   165 Capitol Avenue                              Strawberry Square, 14th Floor
 9 Hartford, CT 06016                              Harrisburg, PA 17120
   Telephone: (860) 808-5030                       Telephone: (717) 787-4530
10 Email: Rahul.Darwar@ct.gov                      Email: jthomson@attorneygeneral.gov
   Counsel for Plaintiff State of Connecticut      Counsel for Plaintiff Commonwealth of
11                                                 Pennsylvania
   s/ Alexandra C. Sosnowski
12 Alexandra C. Sosnowski (admitted pro hac        s/ Michael A. Undorf
   vice)                                           Michael A. Undorf (admitted pro hac vice)
13 Assistant Attorney General                      Deputy Attorney General
   Consumer Protection and Antitrust Bureau        Delaware Department of Justice
14 New Hampshire Department of Justice             820 N. French St., 5th Floor
   Office of the Attorney General                  Wilmington, DE 19801
15 One Granite Place South                         Telephone: (302) 683-8816
   Concord, NH 03301                               Email: michael.undorf@delaware.gov
16 Telephone: (603) 271-2678                       Counsel for Plaintiff State of Delaware
   Email: Alexandra.c.sosnowski@doj.nh.gov
17 Counsel for Plaintiff State of New Hampshire    s/ Christina M. Moylan
                                                   Christina M. Moylan (admitted pro hac vice)
18 s/ Caleb J. Smith                               Assistant Attorney General
   Caleb J. Smith (admitted pro hac vice)          Chief, Consumer Protection Division
19 Assistant Attorney General                      Office of the Maine Attorney General
   Consumer Protection Unit                        6 State House Station
20 Office of the Oklahoma Attorney General         Augusta, ME 04333-0006
   15 West 6th Street, Suite 1000                  Telephone: (207) 626-8800
21 Tulsa, OK 74119                                 Email: christina.moylan@maine.gov
   Telephone: (918) 581-2230                       Counsel for Plaintiff State of Maine
22 Email: caleb.smith@oag.ok.gov
   Counsel for Plaintiff State of Oklahoma
23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                     FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                         600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 8                                         Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                    (202) 326-2222
            Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 9 of 10




 1 s/ Gary Honick                                 s/ Lucas J. Tucker
   Gary Honick (admitted pro hac vice)            Lucas J. Tucker (admitted pro hac vice)
 2 Assistant Attorney General                     Senior Deputy Attorney General
   Deputy Chief, Antitrust Division               Office of the Nevada Attorney General
 3 Office of the Maryland Attorney General        100 N. Carson St.
   200 St. Paul Place                             Carson City, NV 89701
 4 Baltimore, MD 21202                            Telephone: (775) 684-1100
   Telephone: (410) 576-6474                      Email: LTucker@ag.nv.gov
 5 Email: Ghonick@oag.state.md.us                 Counsel for Plaintiff State of Nevada
   Counsel for Plaintiff State of Maryland
 6                                                s/ Ana Atta-Alla
   s/ Michael Mackenzie                           Ana Atta-Alla (admitted pro hac vice)
 7 Michael Mackenzie (admitted pro hac vice)      Deputy Attorney General
   Deputy Chief, Antitrust Division               New Jersey Office of the Attorney General
 8 Office of the Massachusetts Attorney General   124 Halsey Street, 5th Floor
   One Ashburton Place, 18th Floor                Newark, NJ 07101
 9 Boston, MA 02108                               Telephone: (973) 648-3070
   Telephone: (617) 963-2369                      Email: Ana.Atta-Alla@law.njoag.gov
10 Email: michael.mackenzie@mass.gov              Counsel for Plaintiff State of New Jersey
   Counsel for Plaintiff Commonwealth of
11 Massachusetts                                  s/ Jeffrey Herrera
                                                  Jeffrey Herrera (admitted pro hac vice)
12 s/ Scott A. Mertens                            Assistant Attorney General
   Scott A. Mertens (admitted pro hac vice)       New Mexico Office of the Attorney General
13 Assistant Attorney General                     408 Galisteo St.
   Michigan Department of Attorney General        Santa Fe, NM 87501
14 525 West Ottawa Street                         Telephone: (505) 490-4878
   Lansing, MI 48933                              Email: jherrera@nmag.gov
15 Telephone: (517) 335-7622                      Counsel for Plaintiff State of New Mexico
   Email: MertensS@michigan.gov
16 Counsel for Plaintiff State of Michigan        s/ Zulma Carrasquillo-Almena
                                                  Zulma Carrasquillo (admitted pro hac vice)
17 s/ Zach Biesanz                                Assistant Attorney General
   Zach Biesanz (admitted pro hac vice)           Antitrust Division
18 Senior Enforcement Counsel                     Puerto Rico Department of Justice
   Office of the Minnesota Attorney General       P.O. Box 9020192
19 445 Minnesota Street, Suite 1400               San Juan, Puerto Rico 00901-0192
   Saint Paul, MN 55101                           Telephone: (787) 721-2900
20 Telephone: (651) 757-1257                      Email: zcarrasquillo@justicia.pr.gov
   Email: zach.biesanz@ag.state.mn.us             Counsel for Plaintiff Commonwealth of Puerto
21 Counsel for Plaintiff State of Minnesota       Rico

22

23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’                    FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE                        600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 9                                        Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                                   (202) 326-2222
           Case 2:23-cv-01495-JHC Document 236 Filed 05/23/24 Page 10 of 10




 1 s/ Stephen N. Provazza
   Stephen N. Provazza (admitted pro hac vice)
 2 Special Assistant Attorney General
   Chief, Consumer and Economic Justice Unit
 3 Department of the Attorney General
   150 South Main Street
 4 Providence, RI 02903
   Telephone: (401) 274-4400
 5 Email: sprovazza@riag.ri.gov
   Counsel for Plaintiff State of Rhode Island
 6
   s/ Sarah L. J. Aceves
 7 Sarah L. J. Aceves (admitted pro hac vice)
   Assistant Attorney General
 8 Public Protection Division
   Vermont Attorney General’s Office
 9 109 State Street
   Montpelier, VT 05609
10 Telephone: (802) 828-3170
   Email: sarah.aceves@vermont.gov
11 Counsel for Plaintiff State of Vermont

12 s/ Gwendolyn J. Cooley
   Gwendolyn J. Cooley (admitted pro hac vice)
13 Assistant Attorney General
   Wisconsin Department of Justice
14 Post Office Box 7857
   Madison, WI 53707-7857
15 Telephone: (608) 261-5810
   Email: cooleygj@doj.state.wi.us
16 Counsel for Plaintiff State of Wisconsin

17

18

19

20

21

22

23

24
     PLAINTIFFS’ REPLY REGARDING PLAINTIFFS’           FEDERAL TRADE COMMISSION
     MOTION TO SEAL AND PLAINTIFFS’ RESPONSE               600 Pennsylvania Avenue, NW
     TO AMAZON’S MOTION TO SEAL - 10                              Washington, DC 20580
     CASE NO. 2:23-cv-01495-JHC                                          (202) 326-2222
